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                       IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                           )
                                                    )
                      Plaintiff,                    )
                                                    )      8:07CR173
       vs.                                          )
                                                    )      PRELIMINARY ORDER
HERMAN CASTILLO-TORRES, and                         )      OF FORFEITURE
JAVIER ONTIVEROS,                                   )
                                                    )
                      Defendants.                   )

       This matter is before the Court on the United States' Motion for Issuance of

Preliminary Order of Forfeiture and Memorandum Brief (Filing No. 76). The Court reviews

the record in this case and, being duly advised in the premises, finds as follows:

       1. The Defendants have entered into Plea Agreements, whereby they have agreed

to plead guilty to Counts I and II of said Indictment. Count I of said Indictment charges the

Defendant with conspiracy to distribute marijuana, a violation of 21 U.S.C. § 846. Count

II of said Indictment charges the Defendants with using $95,210.00 in United States

currency to facilitate the commission of the conspiracy and charges said personal property

is derived from proceeds obtained directly or indirectly as a result of the commission of the

conspiracy.

       2. By virtue of said plea of guilty, the Defendants forfeit their interest in the subject

property, and the United States should be entitled to possession of said property, pursuant

to 21 U.S.C. § 853.

       IT IS ORDERED:

       A. The United States' Motion for Issuance of Preliminary Order of Forfeiture (Filing

No. 76) is hereby sustained.
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       B. Based upon Count II of the Indictment and the Defendants’ pleas of guilty, the

United States Marshal for the District of Nebraska ("Marshal") is hereby authorized to seize

the $95,210.00

in United States currency.

       C. The Defendants’ interest in said property is hereby forfeited to the United States

of America for disposition in accordance with the law, subject to the provisions of 21 U.S.C.

§ 853(n)(1).

       D. The aforementioned forfeited property is to be held by the Marshal in his secure

custody and control.

       E. Pursuant to 21 U.S.C. § 853(n)(1), the Marshal forthwith shall publish at least

once for three successive weeks in a newspaper of general circulation, in the county where

the subject property is situated, notice of this Order, notice of the Marshal's intent to

dispose of the property in such manner as the Attorney General may direct, and notice that

any person, other than the Defendants, having or claiming a legal interest in any of the

subject forfeited property must file a Petition with the court within thirty (30) days of the final

publication of notice or of receipt of actual notice, whichever is earlier.

       F. Said published notice shall state the Petition referred to in Paragraph E., above,

shall be for a hearing to adjudicate the validity of the Petitioner's alleged interest in the

property, shall be signed by the Petitioner under penalty of perjury, and shall set forth the

nature and extent of the Petitioner's right, title or interest in the subject property and any

additional facts supporting the Petitioner's claim and the relief sought.




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       G. The United States may also, to the extent practicable, provide direct written

notice to any person known to have alleged an interest in the property subject to this Order

as a substitute for published notice as to those persons so notified.

       H. Upon adjudication of all third-party interests, this Court will enter a Final Order

of Forfeiture pursuant to 21 U.S.C. § 853(n), in which all interests will be addressed.

       DATED this 19th day of October, 2007.

                                                  BY THE COURT:


                                                  s/Laurie Smith Camp
                                                  United States District Judge




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